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       May 22, 2023

       VIA ECF ONLY:
       Hon. Lorna G. Schofield
       Courtroom 1106

         Re: ZURU INC. v. The Individuals, Partnerships, and Unincorporated Associations
             Identified on Schedule "A"
             Case No.: 1:23-cv-03146-LGS

       To the Honorable Lorna G. Schofield,

               Counsel for plaintiff writes to request a further continuance of the date for a hearing to
       convert the April 27, 2023 order granting a temporary restraining order (TRO) in this case to a
       preliminary injunction. In addition, plaintiff requests a conference with the court to address the
       issues set forth below concerning service. No defendant has yet appeared in this case.

                On April 27, 2023, the same day the Court issued the TRO, the Court denied Plaintiff’s
       motion for alternate service. (Doc. 21). The denial of plaintiff’s motion for alternate service has
       left plaintiff in a difficult situation vis a vis service on the defendants and plaintiff’s ability to
       move forward with a hearing on the conversion of the TRO to a preliminary injunction.
       Currently the hearing is scheduled for May 24, 2023 at 4:10 PM.

              Plaintiff has served the TRO on the Amazon and Aliexpress marketplace, but has not
       received back the information from Aliexpress as of yet. Thirty-six (36) defendants are
       associated with the AliExpress marketplace in this case.

               Therefore, a continuance of the hearing scheduled for May 24, 2023 will be necessary for
       that reason alone. Without the information from Aliexpress, plaintiff cannot begin the process
       of notifying the defendants of the TRO and any court hearing to convert the TRO to a
       preliminary injunction.

               Service by the Hague Convention in China is a protracted, difficult and expensive
       process. It is unlikely that Hague Service in China can be accomplished within a reasonable,
       predictable amount of time prior to a hearing to convert the TRO to a preliminary injunction.
       Unfortunately, it appears that this Court’s TRO entered at Doc. 21 at page 11 requires
       traditional service because it references the denial of plaintiff’s motion for alternate service and
       makes no other provision for service of the TRO or notice of a hearing on the preliminary
       injunction.

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         The Individuals, Partnerships, and Unincorporated Associations Identified on Schedule "A"
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                Because Plaintiff’s motion for alternate service seeking to serve the defendants via email
         and by website posting was denied, Plaintiff has only been able to effectuate service on two of
         the 117 defendants. Plaintiff obtained waivers of service from two other defendants thus far.

                 In the interest of providing Defendants with notice and an opportunity to be heard in
         opposition to the motion for preliminary injunction, Plaintiff respectfully requests that the
         Court continue the hearing for two weeks and extend the TRO during that period. Fed. R. Civ.
         P. 65(b)(2) permits this Court to extend a TRO for up to fourteen days upon a showing of good
         cause. This is Plaintiff’s second request for an extension.

                 A new hearing date of June 7, 2023 would conflict with the current deadline of May 31,
         2023 for the parties to file a joint status letter and the status conference currently set for June 7,
         2023. Plaintiff respectfully proposes the joint status letter and status conference dates be
         extended by two weeks to June 14, 2023 and June 21, 2023, respectively.

                 To provide Defendants with due process and permit Plaintiff to serve Defendants,
         Plaintiff requests the Court continue the hearing to June 7, 2023, and extend the TRO through
         the hearing.

                 In addition, in order so that Plaintiff can determine how to proceed forward with this
         case in light of the Court’s denial of Plaintiff’s motion for alternate service, a brief conference
         with the Court by telephone to discuss these issues is requested.
                                     Application GRANTED IN PART. The order to show cause hearing scheduled for May 24,
         Sincerely,                  2023, is ADJOURNED to June 7, 2023, at 4:10 P.M. The conference shall be telephonic
                                     and will take place on the following line: 888-363-4749; access code: 558-3333. The
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                                     restraints imposed by temporary restraining order issued April 27, 2023, are EXTENDED
                                     and shall remain in effect through June 9, 2023. The deadline for the parties to file the
                                     joint status letter and proposed case management plan is EXTENDED to June 21, 2023,
                                     and the initial pre-trial conference scheduled for June 7, 2023, is ADJOURNED to June
           Joel B. Rothman           28, 2023, at 4:10 P.M. The parties shall use the same conference line and access code
                                     listed above. Regarding service, Plaintiff is apprised that The Hague Convention does
"not apply where the address of the person to be served with the document is not known." art. 1. "Courts in this Circuit have
found that an address is not known if the plaintiff exercised reasonable diligence in attempting to discover a physical address
for service of process and was unsuccessful in doing so." Smart Study Co. v. Acuteye-Us 13, No. 21 Civ. 5860, 2022 WL
2872297, at *5 (S.D.N.Y. July 21, 2022) (internal quotation marks omitted). The Declaration of Joel B. Rothman, executed
April 26, 2023, and filed in connection with Plaintiff's motion for alternate service, does not contain a statement regarding
Plaintiff's efforts to determine a physical address for Defendants in this case and only states that the marketplaces
Defendants use do not provide a physical address. Plaintiff may renew its request for alternate service, provided it includes
evidence of its diligence in attempting to discover the physical addresses of Defendants in this case. In light of this guidance,
Plaintiff's request for a conference to discuss service is DENIED, without prejudice to renewal. So Ordered.
Dated: May 22, 2023
          New York, New York
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